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          INDEX OF SUPPLEMENTAL DECLARATIONS (MARCH 2, 2025)

                                 Current Employees
1   Matthew Pfaff The Chief of Staff of the Office of Consumer Response explains that
                  the statements in Adam Martinez’s testimony (¶ 8) about work being
                  “activated” in the Office of Consumer Response are “misleading” and
                  “false.”
3   Emory Doe     An employee with supervision over the Escalated Case Management
                  team explains that the assertion in Martinez’s testimony (¶ 8)—that
                  “members of the Escalated Case Management team” are “working” —
                  is “false.”
4   Francis Doe     A CFPB analyst recounts that, after Adam Martinez sent an email on
                    February 27th purporting to authorize statutorily mandated work in the
                    Research, Monitoring, and Regulations division, she received a text
                    message to her personal cell phone from her supervisor telling her to
                    nevertheless “stand down.”
4   Greer Doe       A management official explains that, contrary to Martinez’s testimony
                    that leadership is authorizing “each of CFPB’s critical statutory
                    responsibilities” (¶ 4), all of the agency’s required offices responsible
                    for serving consumer populations—including its Offices of the Student
                    Loan Ombudsman, Servicemember Affairs, Older Americans, Financial
                    Education, and Community Affairs—are not operational.
